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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
LAURA RAINE, §
Plaintiff :
V. : CIVIL ACTION No. 1-19-CV-231-RP
UNITED STATES OF AMERICA, :
Defendant

 

PLAINTIFF’S SHOWING OF CAUSE TO THE COURT

 

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Plaintiff Laura Raine, and files this Showing of Cause to the
Court in response to the Court’s July 16, 2019 Order, and in support would respect-
fully show this Court the following:

I. Introduction and brief factual background.

1. On June 13, 2019, the Court stayed this case and ordered the Parties
to file a status report (or dismissal papers) by July 13, 2019.

2. Plaintiffs counsel, Robert Melendez, attempted in good faith to make a
filing as the Court requested. But when Mr. Melendez tried to log in to PACER, he
was unable to do so. See Affidavit of Robert Melendez, attached as Exhibit 1. Mr.
Melendez’s former associate created the firm’s log-in credentials for the PACER por-

tal; when the associate left the firm, he gave Mr. Melendez the wrong credentials.

See id.

 

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3. When Mr. Melendez realized that the log-in credentials he had were
incorrect, he tried to create new credentials in order to get access to PACER. See id.
He chose the option to do so, and the website said that it sent an email to Mr.
Melendez through which he could change his log-in password. See id. After several
minutes of waiting for an email that never came, Mr. Melendez tried to reset his
password again, but again received no email. See id.

4. Mr. Melendez realized at that point that he would need to work direct-
ly with someone from PACER to fix the issue. See id. After making contact with
PACER, Mr. Melendez finally got the issue fixed on Monday, July 22. See id.

II. Plaintiff can show good cause.

5. “To establish good cause, a plaintiff has the burden of demonstrating
‘at least as much as would as would be required to show excusable neglect ....”
Newby v. Enron Corp, 284 Fed. App’x 146, 149 (5th Cir. 2008) (quoting Winters v.
Teledyne Movible Offshore, 776 F.2d 1304, 1306 (5th Cir. 1985)) (emphasis omitted).
“Some showing of ‘good faith ... and some reasonable basis for noncompliance’ is
normally required.” Winters, 776 F.2d at 1306 (quoting Charles Alan Wright & Ar-
thur R. Miller, Federal Practice and Procedure § 1165 (1969)).

6. Plaintiff can show good cause because she attempted to comply with
the Court’s Order in good faith, and she has a reasonable basis for noncompliance.
Plaintiffs attorney Robert Melendez attempted to log into PACER in order to com-
ply with the Court’s Order in good faith. But Mr. Melendez’s former associate gave

Mr. Melendez the wrong log-in credentials before leaving the firm, and Mr. Melen-

 

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dez had issues with the PACER website in trying to reset his password such that,
even with direct, communication with PACER personnel, the issue was only resolved
on Monday, July 22.
Prayer.

Wherefore, premises considered, Plaintiff respectfully requests the Court find
good cause on the part of Plaintiff in attempting to comply with the Court’s June 13,
2019 Order in good faith and with a reasonable basis for noncompliance. Plaintiff
further requests that the Court not dismiss her claims and that the Court grant

Plaintiff all other relief, in law or equity, that Plaintiff is entitled to.

Respectfully Submitted,

MELENDEZ LAW FIRM, PLLC

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ATTORNEYS FOR PLAINTIFF

 

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CERTIFICATE OF SERVICE
I certify that I served a true and correct copy of this document on all counsel of rec-

ord by e-service on July 23, 2019.

Robert M. Melendez

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

 

 

AUSTIN DIVISION
LAURA RAINE, §
§
Plaintiff §
§
v. § CIVIL ACTION No. 1-19-CV-231-RP
§
UNITED STATES OF AMERICA, §
§
Defendant §
AFFIDAVIT OF ROBERT M. MELENDEZ
STATE OF TEXAS §
COUNTY OF TRAVIS §

Today, Robert M. Melendez, a person whose identity I know, personally ap-
peared before me, the undersigned notary. After I administered an oath to Mr.
Melendez, he testified to the following:

1. “My name is Robert M. Melendez. I am over 18 years of age, of sound
mind, and capable of making this affidavit. The facts stated in this affidavit are
within my personal knowledge and are true and correct.

2. I attempted in good faith to make a filing in compliance with the
Court’s June 13, 2019 Order. But, when I went to make the filing, I was unable to
log in to PACER because I did not have the correct log-in credentials.

3. My former associate made the firm’s PACER account and gave me the
wrong log-in credentials when he left the firm. Because of this, I attempted to make
a new password for my account. On the website, I chose the option to create a new
password and waited for the resultant email. But that email never came, nor a se-
cond email when I tried to change my password a second time.

4. I had to contact PACER personnel directly in order to gain access to
my account. The issue was finally resolved on Monday, July 22, 2019.”

Affiant further sayeth naught.

Robert. Mélendez >

 

AFFIDAVIT OF ROBERT M. MELENDEZ Page 1 of 2
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Sworn to and subscribed before me on July,23, 2019.

   
   
   

   

 

, CHRISTINE SANCHEZ
EOE ist My Notary 1D # 11297984
Beye Expres July 27, 2022

‘ean set

Notary Public in and for the State of Texas

My commission expires: / LX / { OQ

 

 

AFFIDAVIT OF ROBERT M. MELENDEZ Page 2 of 2
